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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION


FRANK SEARCH and ROBERT ROSE,
on behalf of themselves and all others
similarly situated,

                      Plaintiffs,

       v.                                            Docket No.: 4:18-CV-01941-RBH

MATERIAL TRANSPORT, LLC,
a domestic corporation, and
KIMBERLY M. CHERRY, an individual,

                      Defendants.


               PLAINTIFFS’ ATTORNEYS’ FEES AND COSTS AFFIDAVIT

       The undersigned hereby sets forth a concise statement of the attorneys’ fees and costs in

this matter:

       1.      I serve as local counsel for Plaintiffs in this matter and, in that capacity, I have

spent a total of 5.2 hours, for which I am claiming a total of $1,300. See Exhibit A, attached.

       2.      Patrick S. Almonrode, of the law offices of Brown, LLC, has served as lead

counsel on this matter, and in that capacity he and other members of his office have spent a total

of 20 hours (after the exercise of billing judgment), for which his office is claiming a total of

$7,025. His office has also incurred expenses of $578.59. See Exhibit B, attached.

       3.      Brown, LLC has a contingent fee arrangement with Plaintiffs.

       4.      As local counsel, my office has an arrangement under which we are to receive

10% of the fee collected by Brown, LLC.

       5.      I am an attorney licensed by the State of South Carolina, practicing in the federal

and state courts of South Carolina for five years.
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       6.      Mr. Almonrode is an attorney licensed by the State of New York, and practicing

in the courts of that state and in various federal courts nationwide for fifteen years.

       7.      I affirm under penalty of perjury that the foregoing is true and correct.



Dated: January 31, 2019                            Respectfully submitted,

                                                   DOUGALL & COLLINS

                                                   /s/ Michal Kalwajtys
                                                   Michal Kalwajtys (SC Bar # 100950)
                                                   1700 Woodcreek Farms Road
                                                   Elgin, SC 29045
                                                   (803) 865-8858 (office)
                                                   (803) 865-8944 (fax)
                                                   mkalwajtys@dougallfirm.com

                                                   Attorneys for Plaintiffs
                                                   Frank Search and Robert Rose




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            EXHIBIT A
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                                 DOUGALL & COLLINS
           Kalwajtys Timesheet – Search and Rose v. Material Transport LLC, et al.

7/13/18   Reviewed the complaint; converted to pdf; researched additional                       1.0
          documents necessary for filing; attempted filing the complaint; email to
          Pat regarding initial disclosure and summons.
7/16/18   Converted Rule 26.01 Answers to Interrogatories; prepared Cover Sheet                 1.4
          and Summons; filed all documents with the court electronically.
7/17/18   Email correspondence with the co-counsel regarding service of process.                0.1
8/7/18    Telephone call from the attorney for the defendants                                   0.1
8/7/18    Email to the co-counsel regarding defendants retaining counsel.                       0.2
8/8/18    Email correspondence with the attorney for the defendants.                            0.2
9/8/18    Email correspondence with co-counsel regarding status of the case.                    0.2
12/17/18 Telephone conference with co-counsel regarding entry of default.                       0.2
12/17/18 E-filed proofs of service with the court.                                              0.3
12/19/18 Email correspondence with the clerk of court regarding required                        0.2
         corrections to filing of the proofs of service.
12/19/18 Telephone conversation with the clerk of court regarding submission of                 0.2
         a notice of filing.
12/19/18 Drafted and e-filed a notice of filing of the proofs of service in                     0.3
         accordance with the clerk’s request.
12/22/18 Revised and converted to PDF the request for entry of default, the                     0.9
         affidavit in support of the request for entry of default, and proposed
         order granting entry of default, and filed them with the court.
                                                                   TOTAL HOURS                  5.2
                                                                              @ $250       $1,300
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             EXHIBIT B




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                                      BROWN, LLC
                Timesheet – Search and Rose v. Material Transport LLC, et al.

 Date                          Task                      Timekeeper   Rate      Hours Amount
1/30/17   TC with client (Search)                        Almonrode     $350       0.5       $175
2/27/17   TC with client (Rose)                          Almonrode     $350       0.3       $105
3/24/17   Status call with client (Search)               Almonrode     $350       0.4       $140
6/21/17   Status call with client (Search)               Almonrode     $350       0.1        $35
8/21/17   Lining up local counsel for demand letter;     Almonrode     $350       0.5       $175
          drafting same; TC with client (Search)
8/22/17   Mailing demand letter                               Teng     $100       0.1        $10
9/11/17   TC to client Search (l/m); TC with John        Almonrode     $350       0.6       $210
          Cherry
10/12/17 Status call with client Search – defendant      Almonrode     $350       0.1        $35
         still in operation
6/3/18    Drafting complaint                             Almonrode     $350       2.1       $735
6/5/18    Review of file; TCs with clients; continue     Almonrode     $350       6.0   $2,100
          drafting complaint
6/6/18    Transfer call from Rose to PA                      Admin      $50       0.1         $5
6/6/18    Review draft complaint, send to JTB; draft     Almonrode     $350       1.7       $595
          second demand letter, preservation notice,
          and proposed tolling agreement
6/7/18    Finalizing demand-letter packets; sending      Almonrode     $350       0.6       $210
          same
6/21/18   Transfer call from John Cherry to PA               Admin      $50       0.1         $5
6/22/18   TC to John Cherry; f/u email; write-up in      Almonrode     $350       0.7       $245
          clio; status call with client (Rose)
7/13/18   EM with local attorney re filing               Almonrode     $350       0.1        $35
7/16/18   Draft responses to Rule 26.01                  Almonrode     $350       0.8       $280
          interrogatories; send same to local counsel
7/18/18   Arranging service of summons and               Almonrode     $350       0.4       $140
          complaint (Guaranteed Subpoena)
8/6/18    Transfer call from Rose to PA                      Admin      $50       0.1         $5
8/8/18    Transfer call from Ben Baroody to PA               Admin      $50       0.1         $5
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8/8/18    EM and TC w def counsel Baroody -               Almonrode    $350       0.2        $70
          Defendants are “virtually w/o assets,” can
          (maybe) offer about $2K or default
9/4/18    Incoming call from Robert Rose; message             Admin     $50       0.1         $5
          sent to PA
9/4/18    Incoming call from Ben Baroody; message             Admin     $50       0.1         $5
          sent to PA
9/4/18    TCs with def counsel and client rose            Almonrode    $350       0.3       $105
9/6/18    TC w client Rose re trucks on defs’ property    Almonrode    $350       0.1        $35
9/8/18    TC with local re liens                          Almonrode    $350       0.1        $35
10/11/18 TC with local re filing proofs-of-service;       Almonrode    $350       0.2        $70
         sending same to local
11/1/18   Status update with JTB (file review)            Almonrode    $350       0.1        $35
11/1/18   File review with PA                                 Brown    $500       0.1        $50
11/20/18 Msg from Robert Rose                                 Admin     $50       0.1         $5
11/30/18 Status call with client (Rose)                   Almonrode    $350       0.1        $35
12/12/18 Status call with client (Rose)                   Almonrode    $350       0.1        $35
12/17/18 Draft papers for entry of default; TCs w         Almonrode    $350       1.6       $560
         local re same
12/20/18 Research re “made certain by calculation”;       Almonrode    $350       1.1       $385
         revise default docs and send to local for
         filing
1/6/19    Review file; contact clients re estimated       Almonrode    $350       0.6       $210
          damages (l/m for Search)
1/7/19    TC to client Search re estimated damages        Almonrode    $350       0.2        $70
1/8/19    TC with client Search re new email address      Almonrode    $350       0.1        $35
1/14/19   EM to client Rose re estimated damages          Almonrode    $350       0.1        $35
          TOTAL FEES                                                                    $7,025




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Date      Expense note                                                               Amount
6/7/18    Demand letters sent to two addresses via                                   $13.10
          USPS Priority Mail
7/19/18   Complaint filing fee plus cost of e-check to                              $400.50
          local counsel
8/20/18   Service of subpoena (Guaranteed Subpoena                                  $164.99
          Service)
          TOTAL EXPENSES                                                            $578.59




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